~AO 245C         (Rev.Case     4:07-cr-40006-JPG
                       06/05) Amended Judgment in a Criminal CaseDocument 389   Filed 12/28/09            Page(NOTE:
                                                                                                                1 of Identify
                                                                                                                      6 Page          ID Asterisks (0»
                                                                                                                              Changes with
                 Sheet I                                                   #1274

                                            UNITED STATES DISTRICT COURT
                          SOUTHERN                                     District of                              ILLINOIS

             UNITED STATES OF AMERICA
                                v.
                      ROBERT M. HARRIS

Date of Original Judgment:                1/18/2008
(Or Date of Last Amended Judgment)
Reason for Amendment:
lit Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2»
o Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
      P. 35(b»
o Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a»
o Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)


THE DEFENDANT:
o pleaded guilty to count(s)
o pleaded nolo contendere to count(s)
    which was accepted by the court.
lit was found guilty on count(s)     1 of the Superseding Indictment
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                      Offense Ended


 21 U.S.C. 846                        Conspiracy to Distribute and Possess with Intent to                     7/7/2007                    1s

                                      Distribute in Excess of 50 Grams of Cocaine Base
       The defendant is sentenced as provided in pages 2 through                10      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                       0 is 0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIC circumstances.
                                                                                 12/21/2009
                                                                                Date of Imposition of Judgment


                                                                                Signature of Judge
                                                                                J. Phil Gilbert                          District Judge
                                                                                Name ofJudge                             Title of Judge

                                                                                 ,u-dk d 7
                                                                                Date
                                                                                                     j
 AO 245C     Case
             (Rev.    4:07-cr-40006-JPG
                   06/05) Amended Judgment in a CriminalDocument
                                                        Case     389 Filed 12/28/09             Page 2 of 6           Page ID
             Sheet 2 - Imprisonment                               #1275                              (NOTE: Identify Changes with Asterisks (*))

                                                                                                 Judgment -          2__ of
                                                                                                              Page _ _                   10
  DEFENDANT: ROBERT M. HARRIS
  CASE NUMBER: 4:07CR40006-003-JPG

                                                           IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
188 months on Count 1 of the Superseding Indictment




 ~ The court makes the following recommendations to the Bureau of Prisons:

That the defendant participate in the Intensive Drug Treatment Program.




 ~ The defendant is remanded to the custody of the United States Marshal.

 o The defendant shall surrender to the United States Marshal for this district:
   o at                                  o a.m 0 p.m. on
      o     as notified by the United States Marshal.

 o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
   o before 2 p.m. on
      o     as notified by the United States Marshal.

      o     as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                     to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                        By_______________________________________
                                                                                        DEPUTY UNITED STATES MARSHAL
 AO 245C
               Case 4:07-cr-40006-JPG                     Document 389 Filed 12/28/09
               (Rev. 06/05) Amended Judgment in a Criminal Case
                                                                                                        Page 3 of 6           Page ID
               Sheet 3 - Supervised Release                         #1276                                    (NOTE: IdentifY Changes with Asterisks (*))

                                                                                                                           3_ of
                                                                                                           Judgment-Page _ _                    10
 DEFENDANT: ROBERT M. HARRIS
 CASE NUMBER: 4:07CR40006-003-JPG
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

5 years on Count 1 of the Superseding Indictment.




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau ofPnsons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 D       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
 lit The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 lit The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
 D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments sneet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the prooation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
  11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record; personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
          defenaant's compliance with such notification requirement.
           Case 4:07-cr-40006-JPG                     Document 389 Filed 12/28/09      Page 4 of 6           Page ID
                                                                #1277
AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 3C - Supervised Release                                                    (NOTE: Identify Changes with Asterisks (*»

                                                                                                          4_ of
                                                                                          Judgment-Page _ _                    10
DEFENDANT: ROBERT M. HARRIS
CASE NUMBER: 4:07CR40006-003-JPG

                                       SPECIAL CONDITIONS OF SUPERVISION
X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
ten percent of his net monthly income, whichever is greater.

X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States
Attorney's Office with access to any requested financial information. The defendant is advised that the
 probation office may share financial information with the Financial Litigation Unit.

X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and or any other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
immediately notify the probation officer of the receipt of any indicated monies.

X Due to the defendant's history of possessing firearms and distributing drugs, the Court is exercising its
 discretion and ordering that the defendant shall submit his person, residence, real property, place of
 business, computer, or vehicle to a search, conducted by the United States Probation Officers at a reasonable time and in
a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
supervision. Failure to submit to a search may be grounds for revocation. The defendant shall inform any other residents
that the premises may by subject to a search pursuant to this condition.
AO 245C
            Case 4:07-cr-40006-JPG                    Document 389 Filed 12/28/09
           (Rev. 06/05) Amended Judgment in a Criminal Case
                                                                                                   Page 5 of 6           Page ID
           Sheet 5 - Criminal Monetary Penalties                #1278                                   (NOTE: Identify Changes with Asterisks (*))

                                                                                                 Judgment -          5 _of
                                                                                                              Page _ _                    10
DEFENDANT: ROBERT M. HARRIS
CASE NUMBER: 4:07CR40006-003-JPG
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                                        Fine                              Restitution
TOTALS           $ 100.00                                         $ 200.00                           $ 0.00


DO The determination of restitution is deferred until------ . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    Jfthe defendant makes a partial payment, each payee shall receive an approximately Rroportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U. S.c. § 3664(i), aJl nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                 Total Loss*              Restitution Ordered         Priority or Percentage




TOTALS                                                        $                          $

o    Restitution amount ordered pursuant to plea agreement $
                                                                   ----------
o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fuJI before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

lit The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
    lit the interest requirement is waived for lit fine o restitution.
    o the interest requirement for        o fine o restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
             Case 4:07-cr-40006-JPG                    Document 389 Filed 12/28/09                   Page 6 of 6            Page ID
                                                                 #1279
AO 245C     (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments                                                                 (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment -          6_ of
                                                                                                                    Page _ _                   10
DEFENDANT: ROBERT M. HARRIS
CASE NUMBER: 4:07CR40006-003-JPG

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     ~ Lump sum payment of $ _ _ _ _ _ __                     due immediately, balance due

           o not later than                                        , or
           o in accordance with 0 C, o D,                      0   E, or    ~F below; or

B    0     Payment to begin immediately (may be combined with              0 C,     o D, or      OF below); or

c    0     Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0     Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ~ Special instructions regarding the payment of criminal monetary penalties:

          X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
          commencement of the term of supervised release. The defendant shall pay the fine in installments of $1 0.00 per
          month or ten percent of his net monthly income, whichever is greater.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o Joint and Several
     Defendant ~nd CO-Defendant N~mes and Case Numbers (including defendant number), Joint and Several Amount, and
     correspondmg payee, If appropnate.




o The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):
o The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest (4) fine principal
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.               '
